Case 1:18-mc-00167-AB.] D‘ocument 18 Filed 12/17/18 Page 1 of 2

UNITED ST_ATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

 

UNITED STATES OF AMERICA, §

)

v. )

_ )

PAUL J. MANAFORT, JR., )

Defendant. §

)

)

IN RE: PETITIONS FOR RELIEF )
CONCERNING CONSENT ORDER OF ) Case No. 1:18-mc-00167-ABJ

FORFEITURE )

)

ORDER

Upon consideration of the United States’ Proposal Regarding Scheduling in Response to

this Court’s Novernber 30, 2018, Minute Order, it is hereby ORDERED:

l. The United States shall file a response to the petitions of UBS Bank USA and
Williarn Clayton Batchelor on or before January lO, 2019;

2. The United States shall flle a response to all other petitions filed to date in this action
on or before January 24, 2019;

3. On or before January 24, 2019, the United States shall file a response to any petition
Which may be filed by December 21 , 2018, in response to the direct notice received
from the government on Novernber 21, 2018 as referenced in the government’s
report;

4. On or before January 24, 2019, the United States shall file a report to the Court
regarding the status of discussions With potential petitioners Citizens Financial

Group, lnc. d/b/a Citizens Bank' (“Citizens”) and 29 Howard Street Condorniniurn;

Case 1:18-mc-00167-AB.] Document 18 Filed 12/17/18 Page 2 of 2

5. Potential petitioners Citizens Financial Group, Inc. d/b/a Citizens Bank (“Citizens”)
and 29 Howard Street Condominium may file a petition on or before January 24,
2019; l

6. The United State_s’ responses to petitions filed according to this schedule may include
agreed resolutions, dispositive motions, a further proposed schedule for dispositive
motions or discovery, a request for further opportunity for certain petitioners to
confer with the government, or such other relief as may promote the efficient
adjudication of petitions in this matter.

SO ORDERED.

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Dated this day of December, 2018.

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THE HoNoRABLE AMY B. JACKsoN
UNITED sTATEs DISTRICT JUDGE

 

